              Case 1:20-cv-00948-RP Document 7 Filed 12/18/20 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

SERFACE CARE, INC. d/b/a MYRO                     §
                                                  §
         Plaintiff/Counter-defendant,             §
                                                  §
vs.                                               §
                                                  § Case No. 1:20-cv-948-RP
BERRY GOOD LABS, LLC d/b/a TEXAS                  §
BEAUTY LABS a/k/a THE GOODKIND                    §
CO.                                               §
                                                  §
         Defendant/Counter-plaintiff.             §


      JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS AND COUNTERCLAIMS
                  WITHOUT PREJUDICE UNDER RULE 41(a)(1)(A)(ii)


         Plaintiff/Counter-defendant,   Serface    Care,   Inc.   d/b/a   Myro     (“Myro”)     and

Defendant/Counter-plaintiff, Berry Good Labs, LLC d/b/a Texas Beauty Labs a/k/a The Goodkind

Co. (“TBL”) (collectively, the “Parties”) hereby join in this stipulation of voluntary dismissal

without prejudice.

         1.     Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure permits the Parties to

dismiss claims and counterclaims without prejudice without an order of the Court if all parties who

have appeared sign a stipulation of dismissal.

         2.     Myro hereby announces to the Court that it is dismissing all of its claims against

TBL in this action without prejudice pursuant to Rule 41(a)(1)(A)(ii).

         3.     Likewise, TBL hereby announces to the Court that it is dismissing all of its

counterclaims against Myro in this action without prejudice pursuant to Rule 41(a)(1)(A)(ii).

         4.     The Parties agree to bear their own costs incurred in connection with this action.
           Case 1:20-cv-00948-RP Document 7 Filed 12/18/20 Page 2 of 2




Dated: December 18, 2020                    Respectfully submitted,

                                            LAMBOURN LAW FIRM, PLLC

                                            /s/ Robin R. Lambourn
                                            _________________________________________
                                            Robin R. Lambourn
                                            Texas Bar No. 24055814
                                            LAMBOURN LAW FIRM, PLLC
                                            P.O. Box 9123
                                            Denver, Colorado 80209
                                            Telephone: (720) 507-1590
                                            Facsimile: (720) 634-1050
                                            E-Mail: rlambourn@lambournlaw.com

                                            ATTORNEY FOR PLAINTIFF/COUNTER-
                                            DEFENDANT SERFACE CARE, INC. D/B/A
                                            MYRO

                                            /s/ W. Reid Wittliff
                                            __________________________________________
                                            W. Reid Wittliff
                                            Texas Bar No. 00791951
                                            reid@wittliffcutter.com
                                            Kayna Stavast Levy
                                            Texas Bar No. 24079388
                                            kayna@wittliffcutter.com
                                            WITTLIFF | CUTTER PLLC
                                            1209 Nueces Avenue,
                                            Austin, Texas 78701
                                            T: (512) 960-4865
                                            F: (512) 960-4869

                                            ATTORNEYS FOR DEFENDANT/
                                            COUNTER-PLAINTIFF, BERRY GOOD LABS,
                                            LLC D/B/A TEXAS BEAUTY LABS A/K/A THE
                                            GOODKIND CO.

                               CERTIFICATE OF SERVICE

        I certify that on December 18, 2020, the foregoing was filed electronically and served on
all counsel of record via the Court’s CM/ECF system.

                                            /s/ W. Reid Wittliff
                                            __________________________________________
                                            W. Reid Wittliff


                                               2
